    Case 15-13369       Doc 119-1         Filed 01/04/16 Entered 01/04/16 21:30:57                Desc
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                                         David G. Baker, Esq.
                                               Attorney	  at	  Law
                                    236	  Huntington	  Avenue,	  Room	  306
                                              Boston,	  MA	  	  02115
                                                617-­‐340-­‐3680


Client Info:
Andre Bisasor
3000 Presidents Way #3413
Dedham, MA 02026

Date: 1/4/16


                                                                                       

Project Info:
Project #: 101
Project Name: Andre Bisasor
Project Date: 8/1/15
Project Notes: Chapter 13 case.

     Work Performed                           Date                        Rate            Time       Fee

     Office meeting                        9/11/15           350.00                   2         700.00
     Initial office meeting to discuss case with client, who had filed pro se. Issues relate to dispute
     with landlord, who has started eviction proceedings. Review prior filings, esp. landlord's motions
     and objections.

     Office meeting                      9/16/15         350.00                   5      1,750.00
     Office meeting to review issues and prepare for hearing on landlord's motions and objection to
     certification. Prepare Notice of Appearance and objection/response to landlord's motions and
     objections.

     Hearing                           9/17/15           350.00                    3             1,050.00
     Hearing on landlord's motions and objections. Parties to file supplemental brief.

     Review document                    9/18/15          350.00                            2.4    840.00
     Review supplemental filing by landlord re motions and objections.

     Cost                                     9/18/15                    38.00             NA      38.00
     Parking for hearing.

     Office meeting                      9/21/15         350.00                             1     350.00
     Office meeting to review landlord's supplement and draft ours.

     Prepare document                   9/23/15           350.00               2.8         980.00
     Review order requiring corrective action; withdraw our supplement and prepare corrected
     supplement, and motion to extend time to file documents.

     Review document                   9/29/15          350.00                             0.3    105.00
     Review pro se motion to extend time and order thereon.
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 Review document                10/1/15            350.00                 0.3        105.00
 Review appearance by Foley Hoag atty, court's order continuing automatic stay pending decision.

 Office meeting                     10/4/15         350.00                    1.9       665.00
 Meeting at hospital to prepare schedules, statements and plan.

 Prepare document                    10/6/15           350.00                 0.3       105.00
 Prepare motion to set hearing (re order requiring corrective action).

 Cost                             10/13/15              72.47                 NA          72.47
 Postage and copying to serve chapter 13 plan.

 Review document                   10/19/15         350.00                  1.8         630.00
 Review decision and order on landlord's motions and objection; discuss with client.

 Prepare document                      10/21/15         350.00               4.2      1,470.00
 Discuss landlord's notices from constable re eviction; research issues and prepare emergency
 motion for contempt re co-debtor stay; review court's orders; prepare response to landlord's
 objection; discuss result with client. Review trustee's motion to dismiss.

 Prepare document                   10/28/15           350.00                  0.2        70.00
 Prepare and file notice of change of address, obj. to trustee's motion to dismiss.

 Prepare document                  10/29/15         350.00                    0.3       105.00
 Prepare motion to continue hearing on trustee's motion.

 Prepare document                    11/3/15           350.00                 0.8       280.00
 Prepare and file motion to extend time to appeal.

 Review document                  11/5/15           350.00                    0.2         70.00
 Review pro se motion to waive appeal fee; pro se notice of appeal.

 Prepare document                  11/7/15         350.00                     1.2       420.00
 Prepare statement of issues and related documents re appeal.

 Review document                  11/17/15         350.00                     0.3       105.00
 Review second pro se notice of appeal and motion to waive fee.

 Review document                    11/20/15        350.00                     0.3        105.00
 Review court's order on motions to waive appeal fee; contact client for info to prepare schedules.

 Review document                   11/27/15         350.00                    0.2         70.00
 Review pro se motion for extension of time re appeal documents.

 Prepare document                   12/4/15          350.00                   0.4       140.00
 Prepare designation of record, statement of issues, re second appeal.

 Office meeting                      12/9/15          350.00                  1.3  455.00
 Telephonic attendance at §341 meeting (includes pre-meeting telephone conversations and
 emails with client and attorney Kitaeff, who was present). Client did not appear.

 Review document                   12/18/15          350.00                   0.4       140.00
 Review pro se Notice of Settlement with landlord (no details).
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     Telephone calls                      12/30/15         350.00           4.4    1,540.00
     Various telephone calls (see list for dates and length).

     Cost                                12/31/15           14.10           NA       14.10
     PACER Charges


Total Time:                                                                              35
Subtotal Amount                                                                   12,374.57
Project Total                                                                     12,374.57

                                                                         

Total Time (All Projects)                                                                35
Total (All Projects)                                                              12,374.57
Previous Invoice Amount                                                                0.00
Outstanding Balance                                                                    0.00
Amount Due                                                                        12,374.57
